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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION
                                       _____________



DAWN M. BACHI-REFFITT                              Case No. 1:17-cv-263
                                                   Honorable Gordon J. Quist

               Plaintiff,
v.                                                 DEFENDANTS’ MOTION FOR
                                                   SANCTIONS UNDER RULE 11
KEVIN REFFITT, RONALD REFFITT,
SR., KAREN WIERENGA, And
PENCON, INC.,

               Defendants.

__________________________________/

       Pursuant to Rule 11 of the Federal Rules of Civil Procedure, Defendants Kevin Reffitt,

Ronald Reffitt Sr., Karen Wierenga, and Pencon, Inc. (“Defendants”), by and through their

attorneys, Warner Norcross & Judd LLP, move for sanctions against Plaintiff Dawn M. Bachi-

Reffitt and her counsel. As set forth more fully in the accompanying Brief, Plaintiff and her

counsel have presented pleadings to this Court for an improper purpose and proffered legal

contentions and facts that are unwarranted by existing law. Therefore, Defendants’ motion for

sanctions should be granted.

       1.      This action represents Plaintiff’s fourth attempt to litigate a property division

relating to stock in her divorce, her third effort to re-litigate her final Consent Judgment of

Divorce, and her second collateral attack on the Consent Judgment of Divorce by filing a new

and separate lawsuit.

       2.      Specifically, on February 9, 2012, Plaintiff was involved in divorce proceedings

with her ex-husband, Defendant Kevin Reffitt, in the Grand Traverse Circuit Court, Family

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Division, Case No. 12-9032-DM. As part of those proceedings, Plaintiff conducted extensive

discovery regarding the stock transfer between Kevin Reffitt and his father, Defendant Ronald

Reffitt, Sr., which took place prior to Kevin Reffitt filing for divorce. Kevin Reffitt produced

information and documents in response to Plaintiff’s discovery requests regarding the stock

transfer. These disclosures were made months before the Consent Judgment of Divorce was

entered by the family court, and the parties were set to go to trial over, among other things the

validity of that transfer and the value of the stock.

       3.      Rather than go to trial over those issues, Plaintiff voluntarily signed a Consent

Judgment of Divorce on April 19, 2013, that, in part, divided the value of the stock, and included

broad release language that “forever” settled “any and all claims or rights” between Plaintiff and

Kevin Reffitt arising out of their marriage and subsequent divorce and “forever discharged” Mr.

Reffitt from all actions, suits, claims and demands “whatsoever,” which she has “ever had, now

has or may hereafter have” against Mr. Reffitt, “upon or by reason of any matter, cause, or thing,

up to the date of [the Consent Judgment].”

       4.      On June 17, 2014, Plaintiff filed an untimely motion in the original action for

post-judgment relief, alleging the same central theory of Plaintiffs’ complaint in this action: that

Kevin Reffitt fraudulently concealed his interest in the stock during the Divorce Proceeding.

Plaintiff asked the family court to re-open the divorce case in order to re-litigate the property

division and grant Plaintiff relief from the consent judgment for fraud on the court. On August 8,

2014, the family court denied Plaintiff’s motion as untimely under Michigan law, leaving the

Consent Judgment intact and in full force and effect.

       5.      Plaintiff then filed a separate suit against Kevin Reffitt and Ronald Reffitt Sr. in

the General Civil Division of the Grand Traverse County Circuit Court, Case No. 14-30536-CZ,



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alleging eight causes of action based on the same operative facts and fraud theory asserted in her

motion for post-judgment relief and in this case. Defendants disclosed Michigan case law clearly

barring Plaintiff’s separate fraud action.1 On November 17, 2014, the court dismissed Plaintiff’s

action and reasoned that it was inappropriate for Plaintiff to file a separate suit based on alleged

fraud in the divorce case, as a timely motion in the divorce case was the appropriate method for

obtaining relief relating to intrinsic discovery fraud under Michigan law.

           6.      Now, despite two separate Michigan circuit court judges refusing to allow her to

pursue her discovery fraud claims relating to the Stock, and despite Plaintiff’s knowledge of the

Nederlander case, Plaintiff has repackaged her same claims and filed another separate fraud suit

in this Court, adding a RICO claim against Kevin Reffitt and his family in a desperate attempt to

obtain federal jurisdiction. However, the operative facts of the federal complaint are nearly

identical to the facts asserted in the previous state actions and proceedings. In this action

Plaintiff again pursues the exact same collateral attack on the Consent Judgment of Divorce,

despite its preclusive effect under Michigan law and broad release language.

           7.      Plaintiff’s complaint also includes a myriad of inflammatory allegations against

Kevin Reffitt’s immediate family and his deceased brother, broadly accusing them of running a

criminal racketeering enterprise, without a good faith factual or legal basis for doing so. Plaintiff

has also attached personal correspondence from Kevin Reffitt’s family members to her publicly

filed Complaint.

           8.      The claims in this action are based entirely on Plaintiff’s claim to certain property

by virtue of her marriage to Kevin Reffitt, which rights were fully and finally adjudicated in the

divorce proceeding. Plaintiff’s repeated filing of litigation involving the same facts, claims and



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    Nederlander v. Nederlander, 517 N.W.2d 768, 770 (Mich. Ct. App. 1994).

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issues that have already been disposed of in state court violates Fed. R. Civ. P. 11(b)(1) because

Plaintiff’s pleadings are meant to harass defendants and needlessly increase the cost of litigation.

         9.        Plaintiff’s knowledge of existing Michigan law, particularly the Nederlander

case, MCR 2.612(C)(1)(c) and (2), and the doctrine of res judicata, violates Fed. R. Civ. P.

11(b)(2) because Plaintiff has asserted claims and legal contentions that are not warranted by

existing law or facts surrounding this matter. Additionally, Plaintiff has clearly failed to state

any actionable claim as a matter of law for the reasons stated in the Brief in Support of

Defendants’ Motion to Dismiss.

         10.       Finally, Plaintiff’s unjustified, irrelevant, and outrageous allegations against

Kevin Reffitt and his family, including his deceased brother, go beyond the bounds of

reasonableness and are meant only to harass defendants in violation of Fed. R. Civ. P. 11(b)(1).

         11.       This Motion is further supported and warranted by Defendants’ Brief in Support

of Motion to Dismiss, which thoroughly discusses the procedural history and relevant, binding

case law demonstrating the frivolity of Plaintiff’s claims.

         Pursuant to Federal Rule of Civil Procedure 11(c)(2), this motion was served on

Plaintiff’s counsel in accordance with Rule 5 on June 23, 2017, more than twenty-one days

before the motion was filed with this Court.


Dated: July 18, 2017                            /s/ Thomas M. Amon
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